IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PA
CIVIL DIVISION - LAW

CHRISTINE BIROS, )
)
Plaintiff, )
VS. ) No. 4886 of 2017
)
U LOCK, INC., = <3
Defendant. ) ao 8 ws
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sr 2,98
ORDER OF COURT Zo mwdMez
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AND NOW, to wit, this ok3 day of May, 2022, it appearingaéthe quis mY two
= SO

Notices of Appeal of this Court’s January 24, 2022 Order and this Court’s May & es Order
have been filed by Defendant U Lock in the above-captioned matter, it is hereby ORDERED.
ADJUDGED AND DECREED that, within twenty-one (21) days from the date of this Order
pursuant to Rule 1925(b) of the Rules of Appellate Procedure, the above-named Defendant shall
file of record with a copy to this Court and serve on the undersigned, pursuant to Pa. R.A.P.
1925(b)(1), a Concise Statement of the Matters Complained of on Appeal regarding both Orders.
The Statement shall be served on the Court in person or by first class mail at:

2 North Main Street
Courtroom No, 2
Greensburg, PA 15601
It is further ORDERED, ADJUDGED AND DECREED that, per Pa. R.A-P.
1925(b)(3)(iv), any issue not properly included in the Statement timely filed and served pursuant

to subdivision (b) shall be deemed waived.

SOBs [yg

Prothonotary

 

 

ce: William Otto, Esq.
J. Allen Roth, Esq.
